
PER CURIAM.
The adoption of a fourteen (now sixteen) year old female is at issue. The protagonists are on the one hand the natural father and on the other the child’s paternal grandparents. The grandparents prevailed. The natural father appeals. We affirm.
The minor has lived with the grandparents since she was three years of age and preferred and requested the adoption that resulted.
Without the necessity of repeating the detailed evidence, it is manifest that the best interests of the minor will be best served by the adoption by her grandparents and that the natural father is not in condition or qualified to take custody and assume parental responsibility.
Affirmed.
WALDEN and OWEN, JJ., and DOWNEY, JAMES C., Associate Judge, concur.
